                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


GARY LLOYD BARNES,

       Plaintiff,

                v.
                                                                     Case No. 17-C-0688
UNITED STATES OF AMERICA’S
ATTORNEY GENERAL JEFF SESSIONS,

   Defendant.


                     REPLY BRIEF IN SUPPORT OF MOTION TO DISMISS


       Jeff Sessions, Attorney General of the United States, by his attorneys Gregory J.

Haanstad, United States Attorney for the Eastern District of Wisconsin, and Susan M. Knepel,

Assistant United States Attorney for said district, submits the following reply brief in support of

his motion to dismiss.

       In this lawsuit, plaintiff seeks to have the “winner-take-all” method declared

unconstitutional, to have President Trump and Vice President Pence removed from office, the

expungement of executive orders, the removal of Presidential appointees, and Joseph Biden

appointed as President. Complaint at p. 13. Based up this requested relief, it appears that

plaintiff is seeking a combination of declaratory and injunctive relief. However, a declaratory

judgment “is not an independent source of federal subject matter jurisdiction.” GNB Battery

Techs. V. Gould, Inc., 65 F.3d 615, 619 (7th Cir. 1995). Likewise, “[a]n injunction is a type of

remedy, as distinct from an underlying claim for relief . . . .” Onyango v. Downtown Entm't,




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LLC, 525 F. App'x 458, 460 (7th Cir. 2013). 1 Plaintiff must identify an independent private right

of action through which a “judicially remediable right’ already exists.” Seized Prop. Recovery,

Corp. v. U.S. Customs & Border Prot., 502 F. Supp. 2d 50, 64 (D.D.C. 2007). Plaintiff has

failed to do so.

          A.       Civil Rights Statutes

          Plaintiff argues in his responsive brief that he has standing to sue premised upon Title 42,

United States Code, Sections 1983, 1985 and 1988 because plaintiff and “millions of other U.S.

citizens [] were denied their right to vote for president and vice-president in the 2017 General

Election for President, through the Electoral College voting Process.” Plaintiff’s brief at p. 5.

Although the defendant recognizes that the Court must liberally construe pro se complaints,

Alvarado v. Litscher, 267 F.3d 648, 651 (7th Cir. 2001), Plaintiff did not mention these statutes

in his complaint, and because they were not pled as causes of action in the complaint, the

defendant should not be forced to defend against them. “It is a basic principle that the complaint

may not be amended by the briefs in opposition to a motion to dismiss, nor can it be amended by

the briefs on appeal.” Thomason v. Nachtrieb, 888 F.2d 1202, 1205 (7th Cir. 1989).

          However, should plaintiff seek to amend his complaint to add these causes of action, such

    amendment would be futile because the United States has not waived sovereign immunity, and

    plaintiff fails to state a claim upon which relief may be granted.

                   1.      Title 42, United States Code, Section 1983

          Title 42, United States Code section 1983 provides that any person who “subjects, or

    causes to be subjected, any citizen of the United States . . . to the deprivation of any rights,

    privileges, or immunities secured by the constitution . . . shall be liable to the party injured in an



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    A copy of all unpublished decisions cited in this brief are attached hereto as Exhibit A.

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action at law, suit in equity, or other proper proceeding for redress.” 42 U.S.C. § 1983. A

plaintiff who alleges a “violation of a right secured by the Constitution and laws of the United

States, [] must show that the alleged deprivation was committed by a person acting under color

of state law.” West v. Atkins, 487 U.S. 42, 48 (1988). Section 1983 provides a cause of action

against a state or “a person for whom the state is responsible,” not a federal employee acting in

their official capacity such as Attorney General Jeff Sessions. See Lugar v. Edmondson Oil

Company, Inc., 457 U.S. 922, 937 (1982).

       Moreover, a lawsuit against an employee of the federal government in his official

capacity is a suit against the sovereign. See Kentucky v. Graham, 473 U.S. 159, 166 (1985).

The United States may not be sued without its consent. Bartley v. United States, 123 F.3d 466,

457 (7th Cir. 1997); United States v. Mitchell, 463 U.S. 206, 212 (1983). “Absent a waiver,

sovereign immunity shields the Federal Government and its agencies from suit.” FDIC v.

Meyer, 510 U.S. 471, 475 (1994). The United States has not waived its sovereign immunity for

alleged civil rights or constitutional violations. Meyer, 510 U.S. at 477-78; Affiliated Prof'l

Home Health Care Agency v. Shalala, 164 F.3d 282, 286 (5th Cir. 1999) (“suits against the

United States brought under the civil rights statutes are barred by sovereign immunity”).

“[E]xcept as Congress has consented to a cause of action against the United States, ‘there is not

jurisdiction . . .to entertain suits against the United States.’”

       Section 1983 is not a statute on which plaintiff can base his claim for relief.

               2.      Title 42, United States Code, Section 1985

       Title 42, United States Code, Section 1985 is titled “[c]onspiracy to interfere with civil

rights.” Section 1985(3) provides as follows:

       If two or more persons in any State or Territory conspire or go in disguise on the
       highway or on the premises of another, for the purpose of depriving, either directly

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      or indirectly, any person or class of persons of the equal protection of the laws, or
      of equal privileges and immunities under the laws; or for the purpose of preventing
      or hindering the constituted authorities of any State or Territory from giving or
      securing to all persons within such State or Territory the equal protection of the
      laws; or if two or more persons conspire to prevent by force, intimidation, or threat,
      any citizen who is lawfully entitled to vote, from giving his support or advocacy in
      a legal manner, toward or in favor of the election of any lawfully qualified person
      as an elector for President or Vice President, or as a Member of Congress of the
      United States; or to injure any citizen in person or property on account of such
      support or advocacy; in any case of conspiracy set forth in this section, if one or
      more persons engaged therein do, or cause to be done, any act in furtherance of the
      object of such conspiracy, whereby another is injured in his person or property, or
      deprived of having and exercising any right or privilege of a citizen of the United
      States, the party so injured or deprived may have an action for the recovery of
      damages occasioned by such injury or deprivation, against any one or more of the
      conspirators.

42 U.S.C.A. § 1985. Plaintiff points toward the Electoral College members and the states as

those responsible for depriving him of a right by deciding to award electoral votes under a

winner take all method. Plaintiff’s brief at 4. Plaintiff argues that “[w]hen the electors for

president decided to award all the electoral votes from a state, Congressional District or the

District of Columbia to only one presidential candidate, that would establish a conspiracy.” Id.

      First, “[s]overeign immunity, however, bars §§ 1985(3) . . . suits brought against the

United States and its officers acting in their official capacity.” Davis v. U.S. Dep't of Justice,

204 F.3d 723, 726 (7th Cir. 2000). Second, Section 1985 requires that a right or privilege of a

citizen be deprived, and there is no right to a proportional allocation of votes in the Electoral

College. See U.S. Const. Amend. XII; Wis. Stat. § 7.75. An equal protection claim under §

1985 “is one species of a claim alleging violation of the Fourteenth Amendment, and hence like

all Fourteenth Amendment claims requires state action.” Williams v. St. Joseph Hospital, 629

F.2d 448, 451 (7th Cir. 1980). Plaintiff, however, is suing a federal officer. Third, “[t]he

function of § 1985(3) is to permit recovery from a private actor who has conspired with state

actors.” Fairley v. Andrews, 578 F.3d 518, 526 (7th Cir. 2009). There is no allegation in the

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complaint that defendant conspired with state actors. Also, section 1985 provides for the

“recovery of damages.” Plaintiff is not seeking damages in this action; rather, he is seeking to

remove President Trump and Vice President Pence from office, expunge all executive orders

entered by President Trump, remove all officials appointed by President Trump, and have

Joseph Biden serve as President along with a new Vice-President.

       Section 1985 is not a statute on which plaintiff can base his claim for relief.

               3.      Title 42, United States Code, Section 1988

       Plaintiff argues that Title 42, United States Code, Section 1988 provides him with

standing to sue the Attorney General. Plaintiff’s brief at 5. Section 1988, however, does not

provide the plaintiff with standing.

       Section 1988 does not create an independent cause of action. Moor v. Alameda Cty., 411

U.S. 693, 702 (1973). Section “1988 does not create an independent cause of action, but instead

deals with the procedure to be followed in civil rights actions brought under other statutory

provisions.” Nicholson v. Conrail, No. 86 C 5551, 1987 WL 5406, at 2 (N.D. Ill. Jan. 14, 1987);

Moor v. Alameda County, 411 U.S. at 702. It does not create an independent cause of action.

Also, the United States has not waived its sovereign immunity for alleged civil rights or

constitutional violations. Meyer, 510 U.S. at 477-78.

       Because plaintiff has not identified another federal statute that supports his claim, and

because § 1988 does not provide support for one on its own, plaintiff does not have a statutory

basis for his claim. Section 1988 is not a statute on which plaintiff can base his claim relief.

       B.      Plaintiff fails to state a claim for relief under The Voting Rights Act.

       Plaintiff argues that the Attorney General “could have initiated an action to correct the

unconstitutional actions of the electoral members after he had been appointed to his position.”



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Plaintiff’s brief at 7. Plaintiff appears to argue that because the Attorney General is responsible

for investigating discrimination under the Voting Rights Act, the Attorney General should be

required to “undertake investigations and litigation throughout the United States and its

territories, conducts administrative reviews of changes in voting practices and procedures and

monitors elections.” Id. at 5-6 (internal quotations omitted).

       The Voting Rights Act of 1965 protects the rights of American citizens to vote by

guaranteeing that no “voting qualification or prerequisite to voting or standard, practice, or

procedure” is established on account of “race or color.” 52 U.S.C. § 10301 (formerly cited as 42

U.S.C. § 1973). Plaintiff does not allege that he was denied the right to vote on the basis of his

race or color nor does he allege that any citizen was denied their right to vote on the basis of race

or color. Plaintiff is correct that § 10301 establishes the Attorney General’s ability to undertake

an investigation, but only in the context of the Voting Rights Act. The injuries plaintiff alleges

have nothing to do with the protections listed in the Voting Rights Act.

       Further, the Attorney General has investigatory discretion. The Attorney General of the

United States operates with a large amount of discretion in deciding what cases the United States

will pursue. Specifically:

       The Attorney General's absolute discretion in deciding whether or not to prosecute
       criminal cases was confirmed by the Fifth Circuit Court of Appeals in Smith v.
       United States, 375 F.2d 243 (5th Cir., 1967). In our opinion, the Attorney General
       and the executive branch of the government have the same discretion in deciding
       whether the United States is concerned in a particular civil action.

Shaw v. Garrison, 293 F. Supp. 937, 944–45 (E.D. La. 1968), aff'd, 393 U.S. 220 (1968).

Plaintiff claims that a ruling in his favor “would force the Attorney General / Department of

Justice to require states to change their laws on how electoral votes are awarded to presidential

candidates” (Plaintiff’s brief at 9), but the Attorney General has “absolute discretion” on these

matters. Id. at 944.
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       Plaintiff has not identified a substantive law provision that waives sovereign immunity

such that the Court can order the Attorney General to investigate plaintiff’s challenge to the

“winner-take-all practice.”

       C. Federal Question Jurisdiction

       Plaintiff states in his brief at page 8 that the United States District Court has jurisdiction

over cases involving federal questions. Plaintiff appears to be referring to Title 28, United States

Code, Section 1331, which provides that “[t]he district courts shall have original jurisdiction of

all civil actions arising under the Constitution, laws, or treaties of the United States.” This is

referred to as subject matter jurisdiction. In order to establish subject matter jurisdiction, a

plaintiff has the burden to show that he has standing to sue. Lujan v. Defs. of Wildlife, 504 U.S.

555, 559 (1992). “Standing has three components: injury, causation, and redressability.” 1000

Friends of Wisconsin Inc. v. U.S. Dept. of Trans., 860 F.3d 480, 483 (7th Cir. 2017).

               1. Wisconsin Law Determined how Members of the Electoral College from
                  Wisconsin Voted on December 19, 2016

       Plaintiff lacks standing to sue because his alleged injury is caused by third parties and not

the federal government. Gordon v. National Archives and Records Administration, Case No. 16-

2458, 2017 WL 2671931, at *3 (D.D.C. June 20, 2017). Wisconsin Statute Section 8.18

provides that nominated candidates for the Wisconsin State Legislature, state officers, and

holdover state senators of each political party meet with the purpose of nominating electors for

each congressional district and two additional at-large electors. Under Wisconsin Statute Section

7.75, “[t]he presidential electors, when convened, shall vote by ballot for that person for

president and that person for vice president who are, respectively, the candidates of the political

party which nominated them under [Wisconsin Statute Section] 8.18.” This is because “[w]hen a

voter casts a vote for a candidate for President of the United States, s/he is in actuality casting a

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vote for the presidential electors who were selected by that candidate's party.” NATIONAL

CONFERENCE OF STATE LEGISLATURES, http://www.ncsl.org/research/elections-and-

campaigns/the-electoral-college.aspx (last visited Aug. 4, 2017). The Winner-Take-All method

is allowed because the U.S. Constitution does not specify a method for states to determine who

the presidential electors are for a given state. Id.

        Under the Winner-Take-All System, as is used in Wisconsin and forty-seven other states,

the candidate who wins the popular vote in a state gets to have their party’s electors selected to

cast votes for that state in the Electoral College. See Id. Many of these states have a law similar

to Wisconsin Statute Section 7.75 that requires that Electors cast their vote for the political party

that nominated them, which is why all of the Electoral College votes go to the candidate who

won the popular voter of that state. See e.g. Wis. Stat. § 7.75. Some of those states have laws

that fine or even provide for criminal punishment of “faithless electors,” electors that choose to

vote for someone else other than the candidate of the party that nominated them to be an Elector.

NATIONAL CONFERENCE OF STATE LEGISLATURES,

http://www.ncsl.org/research/elections-and-campaigns/the-electoral-college.aspx (last visited

Aug. 4, 2017). Only Nebraska and Maine use what is called “the District System.” 2 Id. The only

difference between a Winner-Take-All System and the District System is that the elector

allocated to each congressional district is chosen by who wins that district, rather than the state

as a whole. Id. The proportional allocation system, which plaintiff argues is constitutionally

mandated, is not used by any state. See Id.

        Plaintiff has clearly stated that he is not challenging the constitutionality of the Electoral

College. Plaintiff’s brief at 2. Rather, plaintiff is challenging the “winner-take-all” practice, and


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 In its brief filed on July 13, 2017, defendant incorrectly described Maine’s system as proportional.
Maine uses a district system.

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the Attorney General does not have a role in deciding how the State of Wisconsin allocates its

Electoral College votes. The State of Wisconsin controls how the electoral votes are cast.

Without causation and redressability, plaintiff lacks standing.

                2. Amendment XXIV does not apply to Plaintiff’s argument about the Electoral
                   Collection.

        Plaintiff also alleges that the proportional system of allocating Electoral College votes is

required since the passage of the Twenty-Fourth Amendment. Plaintiff’s brief at 8-9. Section

one of the Twenty-Fourth Amendment provides as follows:

        The right of citizens of the United States to vote in any primary or other election
        for President or Vice President, for electors for President or Vice President, or for
        Senator or Representative in Congress, shall not be denied or abridged by the
        United States or any State by reason of failure to pay any poll tax or other tax.

U.S. Const. Amend. XXIV (emphasis added). The purpose of the Twenty-Fourth Amendment

was “to combat the ‘disenfranchisement of the poor,’ which was the intention of the early poll

taxes.” Gonzalez v. Arizona, 485 F.3d 1041, 1049 (9th Cir. 2007) (citing Harman v. Forssenius,

380 U.S. 528, 539 (1965)). The Twenty-fourth Amendment has no relation to the Electoral

College or how votes within it are allocated. See iad. Therefore, plaintiff’s argument that the

Twenty-fourth Amendment requires the implementation of a proportional allocation system is

invalid and fails to state a claim.

                3.      Mootness

        Even if plaintiff had standing, it does not change the fact that plaintiff’s claim is moot.

“A case becomes moot when a party's legally cognizable interest in the litigation ceases to exist,

and the case must be dismissed for lack of jurisdiction.” Evers v. Astrue, 536 F.3d 651, 662 (7th

Cir. 2008). The electoral votes have been cast and the United States Congress certified the votes.

Plaintiff’s request for relief is moot because the President and Vice President of the United States

have been elected. Strunk v. U.S. House of Representatives, 24 F. App'x 21, 22–23 (2d Cir.

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2001). The Constitution grants to Congress the sole power of impeachment of the President.

U.S. Const. Art. I, § 3, cl.6. This court lacks jurisdiction to remove a sitting president. Plaintiff

fails to satisfy the redressability prong of standing and fails to state a claim upon which relief

may be granted.

       Plaintiff has also failed to establish that he has suffered a particularized injury. “[W]hen

the asserted harm is a ‘generalized grievance’ shared in substantially equal measure by all or a

large class of citizens, that harm alone normally does not warrant exercise of jurisdiction.”

Warth v. Seldin, 422 U.S. 490, 499 (1975) (citations omitted). It still remains that plaintiff has

not suffered any injury as a result of the winner-take-all method because the change in electoral

college votes in Wisconsin would not have been sufficient to change the outcome of the

presidential election. Without injury, plaintiff lacks standing.

                                          CONCLUSION

       Wherefore, based on the arguments herein and in the initial motion to dismiss, the

plaintiffs’ complaint should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1), or Fed. R. Civ. P.

12(b)(6) for lack of standing and mootness.

       Dated this 14th day of August 2017.

                                                        GREGORY J. HAANSTAD
                                                        United States Attorney

                                                  By: s/Susan M. Knepel

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